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                                   IN THE UNITED STATES DISTRICT COURT
                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                            AMARILLO DIVISION

 UNITED STATES OF AMERICA                                    §
                                                             §
 v.                                                          §    2:21-cr-052-Z-BR-1
                                                             §
 JASON DEWEY BARRERA                                         §

                                        REPORT AND RECOMMENDATION
                                         CONCERNING PLEA OF GUILTY

         JASON DEWEY BARRERA, by consent, under authority of United States v. Dees, 125 F.3d 261 (5th Cir. 1997),
has appeared before me pursuant to FED. R. CRIM. P. 11, and has entered a plea of guilty to Count 2 of the Indictment. After
cautioning and examining JASON DEWEY BARRERA under oath concerning each of the subjects mentioned in Rule 11,
I determined that the guilty plea was knowledgeable and voluntary and that the offense charged is supported by an
independent basis in fact containing each of the essential elements of such offense. I therefore recommend that the plea of
guilty be accepted, and that JASON DEWEY BARRERA be adjudged guilty of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) -
POSSESSION WITH INTENT TO DISTRIBUTE HEROIN and have sentence imposed accordingly. After being found
guilty of the offense by the District Judge,

☒       The defendant is currently in custody and should be ordered to remain in custody.

☐       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
        if released.

        ☐       The Government does not oppose release.
        ☐       The defendant has been compliant with the current conditions of release.
        ☐       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any other
                person or the community if released and should therefore be released under § 3142(b) or (c).

        ☐       The Government opposes release.
        ☐       The defendant has not been compliant with the conditions of release.
        ☐       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

☐       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1)(a) the Court finds there is a
        substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
        under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and convincing evidence
        that the defendant is not likely to flee or pose a danger to any other person or the community if released.

Date:   September 29, 2021

                                                                  ______________________________________
                                                                  UNITED STATES MAGISTRATE JUDGE

                                                            NOTICE
         Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of its
service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States
District Judge. 28 U.S.C. § 636(b)(1)(B).
